Response to question certified by Court of Appeals.
Sam Blackwell was convicted of an offense and appealed to the Court of Appeals, and that court certifies question to the Supreme Court under Code 1923, §§ 7311, 7322.
Question answered.
Answer to certified question conformed to in (Ala.App.)162 So. 312.
                     Certification to Supreme Court.
To the Supreme Court of Alabama:
In the case of Sam Blackwell v. State, appealed from the Morgan county court, now pending in this court [162 So. 312] the validity of the act of the Legislature of Alabama, approved July 25, 1931: "To Suppress The Evils Of Gambling Devices," etc. (General Acts of Alabama 1931, pp. 806-809), *Page 140 
is attacked by appellant; it being insisted in this connection that said act is violative of section 45 of the Constitution, is violative of section 61 of the Constitution, and is violative of section 63 of the Constitution of Alabama 1901.
It is further insisted that the punishment fixed in this case, to wit, a fine of $250 together with 90 days' hard labor, is excessive and unwarranted; it being contended that the punishment provided in section 4248 of the Code 1923 applies to this case in event of a conviction.
Under the provisions of section 7311 and section 7322, Code 1923, the questions, supra, are submitted to the Supreme Court for determination, and the judges of the Court of Appeals are unable to reach an unanimous conclusion, or decision, as to the questions involved in this case, and which are enumerated hereinabove.
  This 12th day of March, 1935. Respectfully submitted, C. R. Bricken, Presiding Judge, Court of Appeals of Alabama.
The act in question as originally introduced was in the following form:
"A Bill
"To Be Entitled
"An Act to prohibit the operation of slot machines and punchboards.
"Be it enacted by the Legislature of Alabama:
"Section 1. That the operation of all slot machines, other than those that automatically give value for value, and the operation of all punchboards are hereby prohibited.
"Sec. 2. Any person violating this Act shall be guilty of a misdemeanor."
                                Response.
The body of the act (Gen. Acts 1931, p. 806) is cognate or germane to the title and does not offend section 45 of the Constitution of 1901. The main purpose of the bill, as expressed in the title, was to suppress the evils of gambling devices, to define same, to provide for the seizure and destruction of same, and the body of the bill so conforms to the general purpose as expressed in the title as not to violate section 45 of the Constitution.
It is true that said act as finally adopted is much broader than the bill as originally introduced and much more comprehensive as to details, but we do not think that the purpose of the bill was so changed as to violate section 61 of the Constitution. The main purpose of the bill as introduced was to prohibit the operation of punchboards and slot machines, and the bill as passed simply broadens the scope and purpose and prevents the possession, etc., of same which tends to prevent the operation of same. We therefore hold that the amendments or changes were mere extensions or related details and did not change the general purpose of the bill. Stein v. Leeper, 78 Ala. 517; Hall v. Steele, 82 Ala. 562, 2 So. 650; Alabama State Bridge Corp. v. Smith, 217 Ala. 311, 116 So. 695. True, the bill as amended does not specifically mention punchboards, but the instruments mentioned and described could include punchboards kept or used as a gaming device.
You ask if the act conforms to section 63 of the Constitution, which deals with certain requirements connected with the passage of bills, and there is nothing in your inquiry or in appellant's brief which points out or suggests a specific noncompliance with said section 63. We do not, therefore, feel called upon to resort to the record and trace and note each and every phase of the bill from its introduction to the final passage.
As the act is not repugnant to the constitutional provisions involved, the punishment fixed seems to comply with the act.
GARDNER, BOULDIN, and FOSTER, JJ., concur. *Page 141 